Case 3:10-cv-02156-JM-POR Document 1 Filed 10/15/10 PageID.1 Page 1 of 9
Case 3:10-cv-02156-JM-POR Document 1 Filed 10/15/10 PageID.2 Page 2 of 9
Case 3:10-cv-02156-JM-POR Document 1 Filed 10/15/10 PageID.3 Page 3 of 9
Case 3:10-cv-02156-JM-POR Document 1 Filed 10/15/10 PageID.4 Page 4 of 9
Case 3:10-cv-02156-JM-POR Document 1 Filed 10/15/10 PageID.5 Page 5 of 9
Case 3:10-cv-02156-JM-POR Document 1 Filed 10/15/10 PageID.6 Page 6 of 9
Case 3:10-cv-02156-JM-POR Document 1 Filed 10/15/10 PageID.7 Page 7 of 9
Case 3:10-cv-02156-JM-POR Document 1 Filed 10/15/10 PageID.8 Page 8 of 9
Case 3:10-cv-02156-JM-POR Document 1 Filed 10/15/10 PageID.9 Page 9 of 9
